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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)
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    Proposed Local Counsel for the Official
     Committee of Unsecured Creditors

                                                               Chapter 11
    In re:
                                                               Case No. 22-19361 (MBK)
    BLOCKFI INC., et al.,
                                                               Jointly Administered
                            Debtors.1

                            ORDER FOR ADMISSION PRO HAC VICE

1
  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC
(5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A);
BlockFi Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC
(0154). The location of the Debtors’ service address is 201 Montgomery Street, Suite 263, Jersey City,
NJ 07302.
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        The relief set forth on the following page is ORDERED.

        This matter having been brought before the Court on application for an Order For
Admission Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, out-
of-state attorney, and considered this matter pursuant to Fed. R. Civ. Proc. 78, D.N.J. L. Civ. R.
101.1 and D.N.J. LBR 9010-1, and good cause having been shown; it is

        ORDERED that KENNETH J. AULET, ESQ. be permitted to appear pro hac vice;
provided that pursuant to D.N.J. L. Civ. R. 101.1(c)(4), an appearance as counsel of record shall
be filed promptly by a member of the bar of this Court upon whom all notices, orders and pleadings
may be served, and who shall promptly notify the out-of-state attorney of their receipt. Only an
attorney at law of this Court may file papers, enter appearances for parties, sign stipulations, or
sign and receive payments on judgments, decrees or orders, and it is further

        ORDERED that the applicant shall arrange with the New Jersey Lawyers’ Fund for Client
Protection for payment of the annual fee, for this year and for any year in which the out of-state
attorney continues to represent a client in a matter pending in this Court in accordance with New
Jersey Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20)
days of the date of the entry of this Order, and it is further

        ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
admission to the District Court for the District of New Jersey shall also be payable within twenty
(20) days of entry of this Order. Payment in the form of a check must be payable to “Clerk, USDC”
and forwarded to the Clerk of the United States District Court for the District of New Jersey at the
following address:
                                    United States District Court
                                      District of New Jersey
                              Martin Luther King, Jr. Federal Building
                                         50 Walnut Street
                                       Newark, N.J. 07102
                               Attention: Pro Hac Vice Admissions

        and it is further ORDERED that the applicant shall be bound by the Local Rules of the
United States District Court for the District of New Jersey and the Local Rules of Bankruptcy
Procedure for the District of New Jersey; and it is further


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       ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New
Jersey Lawyers’ Fund for Client Protection within 5 days of its date of entry.




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